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INVOICE
                                                                   Invoice Date
                                                                   Apr 14, 2023
                                                                   Invoice Number
         Tom Goldstein                                             INV-1349




Description                                                         Quantity          Unit Price    Amount USD

Purchase Transfer
Purchase of 500,000 USDC for $500,000 USD Cash Equivalent

Cash Purchase Amount                                                    1.00        500,000.00       500,000.00

                                                                                       Subtotal      500,000.00

                                                                                    TOTAL USD        500,000.00




Due Date: Apr 14, 2023
PAYABLE ON RECEIPT
----------------------------------------------

Domestic Wires:




International Wires:




Registered Office:                                                                        Exhibit 4
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PAYMENT ADVICE
                                                              Customer          Tom Goldstein
                                                              Invoice Number    INV-1349
         To:                                                  Amount Due        500,000.00
                                                              Due Date          Apr 14, 2023
                                                              Amount Enclosed
                                                                                Enter the amount you are paying above




Registered Office:
